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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York



                                                       86 Chambers Street, 3rd floor
                                                       New York, New York 10007




                                                        May 6, 2025
BY ECF
The Honorable Paul A. Engelmayer
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                    Re:     ACLU et al. v. DOD et al., No. 17 Civ. 3391 (PAE)

Dear Judge Engelmayer:

        This Office represents the defendant agencies (“Defendants”) in the above-
captioned lawsuit brought pursuant to the Freedom of Information Act (“FOIA”). We
write respectfully in response to the Court’s order dated April 8, 2025 (ECF No. 217),
directing the parties to provide a joint status report on the pending issue of attorney’s fees
in this matter. Pursuant to agreement with Plaintiffs’ counsel, the undersigned provides
this report on behalf of Defendants, since Plaintiffs’ counsel is currently unavailable for
an extended period (and because the relevant developments arise only on Defendants’
side).

        Since the parties’ last report, Defendants have made additional progress with
respect to securing approvals of a fully drafted settlement stipulation. The undersigned is
continuing to work this week with reassigned agency counsel for each relevant
component to advance Defendants’ drafted settlement stipulation through each
components’ approval chain.

        As previously reported, the parties continue to communicate and work together in
good faith to hopefully avert the need to seek the Court’s adjudication of a fees motion,
and believe that their current efforts represent the most efficient path to resolution.
Mindful of the schedule set by the Court for motion practice, the parties have agreed to
confer further once counsel for Plaintiffs is again available later this month, and will
notify the Court if the Court’s assistance is needed.

       The parties thank the Court for its consideration of this matter.
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                                     Respectfully,

                                     JAY CLAYTON
                                     United States Attorney for the
                                     Southern District of New York
                                     Attorney for Defendants

                                By: /s/ Rebecca S. Tinio__     _
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